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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )    No. 15 CR 623
                v.                       )
                                         )    Judge Matthew F. Kennelly
MICHAEL P. HALDORSON                     )

                     RELEASE OF FORFEITURE AGREEMENT

      NOTICE IS HEREBY GIVEN by the United States of America that certain

property named in a forfeiture agreement recorded with the Will County Recorder’s

Office on November 2, 2015, as Document Number R2015094652, is hereby released

and discharged.

      Accordingly, the lien is released and the quit claim deed executed in favor of

the United States of America, currently held in the custody of the Clerk of the United

States District Court, Northern District of Illinois, shall be returned and mailed to

the sureties.

      The property affected by this release is located at 3460 Lockner Blvd., Joliet,

Illinois, and described legally as follows:

      LOT 314, IN CRYSTAL LAWNS ADDITION, UNIT NO. 9, A
      SUBDIVISION OF PART OF THE SOUTHWEST QUARTER OF
      SECTION 26, IN TOWNSHIP 36 NORTH, IN RANGE 9 EAST OF THE
      THIRD PRINCIPAL MERIDIAN, ACCORDING TO THE PLAT
      THEREOF RECORDED JULY 30, 1969, AS DOCUMENT NO.
      R6913924, IN WILL COUNTY, ILLINOIS.

Permanent Index Number: 06-03-26-303-015-0000 (the “subject property”).
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      Further information concerning this action may be obtained from the

undersigned Assistant United States Attorney.



                                           Respectfully submitted,

                                           JOHN R. LAUSCH, JR.
                                           United States Attorney

                                     By:    /s/ Bolling W. Haxall
                                           BOLLING W. HAXALL
                                           Assistant United States Attorney
                                           219 South Dearborn Street, 5th Floor
                                           Chicago, Illinois 60604
                                           (312) 353-5300
